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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

NOEL SALGADO,
Petifioner, No, 2:24-cv-322 (WJM)
v. OPINION AND ORDER
ON MOTION FOR
UNITED STATES OF AMERICA, RECONSIDERATION

Respondent.

WILLIAM J. MARTINL U.S.D.J,

Presently before the Court is Petitioner’s motion for reconsideration of this Court’s
Opinion and Order denying habeas relief under 28 U.S.C, § 2255. ECF Nos, 22-24. For the
reasons set forth below, the motion is denied.

I BACKGROUND

On October 26, 2021, Petitioner was convicted of (1) conspiracy to distribute and
possess with intent to distribute heroin and fentanyl, contrary to 21 U.S.C. §§ 841(a)(1)
and (b)(1)(C), in violation of 21 U.S.C. § 846 (Count I); and (2) distribution and possession
with intent to distribute heroin and fentanyl resulting in serious bodily injury, in violation
of 21 U.S.C. §§ 841 (a)(1) and (b)(1)(C) and 18 U.S.C. § 2 (Count Il), United States v.
Salgado, Crim. No, 19-659, ECF No. 94.! Petitioner was ultimately sentenced to 24 months
imprisonment for Count I and 240 months for Count II, for a total of 264 months
imprisonment. Crim. No. 19-659, ECF Nos. 112, 114. Petitioner moved for a judgment of
acquittal, or, in the alternative, for a new trial under Rules 29 and 33 of the Federal Rules
of Criminal Procedure. Crim, No. 19-659, ECF No. 100. This Court denied that motion.
Crim, No, 19-659, ECF No. 106. Petitioner appealed his convictions, arguing that the Court
erred by (1) denying his pretrial motion to suppress recordings of his prison calls, (2)
admitting lay witness testimony in which a prison investigator opined on the coded nature
of language used by Petitioner during the calls, and (3) denying Petitioner’s motion for a
new trial. Crim. No, 19-659, ECF No. 128-2. The Third Circuit rejected these claims and
affirmed the judgment of this Court. /d. Petitioner, incarcerated and proceeding pro se, then
moved to vacate, set aside, or correct his sentence pursuant to § 2255. ECF No. 3. This

' To find that Petitioner’s distribution of heroin and fentanyl caused serious bodily injury to the victim,
the jury had to determine that the victim experienced “a substantial risk of death [or] protracted loss or
impairment of the function of a bodily member, organ, or mental faculty” as a direct result of Petitioner’s
drug distribution. 21 U.S.C, § 802(25)(A), (C).

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Court denied the motion and declined to grant a certificate of appealability. ECF Nos. 22,
23, On February 3, 2025, Petitioner filed the instant motion for reconsideration under Rule
59(e) of the Federal Rules of Civil Procedure. ECF No. 24.

Il. DISCUSSION

The scope ofa motion for reconsideration is “extremely limited, and such motions
should only be granted sparingly.” Gibbs v. Bartkowski, No. 11-1137, 2018 WL 3201782,
at *1 (D.N.J. June 29, 2018) (citing Biystone v. Horn, 664 F.3d 397, 415 (3d Cir. 2011)).
A motion under Rule 59(e) may be employed “only to correct manifest errors of law or fact
or to present newly discovered evidence.” Blystone, 664 F.3d at 415. Accordingly, a
judgment may be altered or amended if the movant shows at least one of the following
grounds: “(1) an intervening change in the controlling law; (2) the availability of new
evidence that was not available when the court [issued its order]; or (3) the need to correct
a clear error of law or fact to prevent manifest injustice.” Max’s Seafood Café y.
Quinteros, 176 F.3d 669, 667 (3d Cir. 1999), As relevant here, “manifest injustice”
typically refers to situations where a court either failed to consider a crucial factual or legal
issue that was brought before it, or made an error that is clear, obvious, and readily
apparent. Brown v. Zickefoose, No. 11-3330, 2011 WL 5007829, at *2 n.3 (D.N.J. 201 1).

In his motion for reconsideration, Petitioner claims that the Court overlooked
relevant case law and record evidence that demonstrate, inter alia, that there is a scienter
requirement attached to 21 U.S.C. § 802(25). See Pet. Mot. 2-6, ECF No. 24. That provision
of the Controlled Substances Act is used to enhance penalties for certain drug-related
offenses and defines “serious bodily injury” as injury involving “(A) a substantial risk of
death; (B) protracted and obvious disfigurement; or (C) protracted loss or impairment of
the function of a bodily member, organ, or mental faculty.” 21 U.S.C. § 802(25), In its
December 27, 2024 Opinion, the Court observed that the plain text of § 802(25) does not
indicate any scienter requirement—neither does the related mandatory minimum sentence
triggered under § 841(b)(1)(C). ECF No. 22. Now, Petitioner argues that the Court failed
to consider purportedly relevant precedent—including Ruan v. United States, 597 U.S. 450,
142 S. Ct. 2370, 213 L. Ed. 2d 706 (2022)—that demonstrates that “the presumption of
mens rea applies regardless of whether § 802(25) explicitly [indicates] that mens rea is
required for the offense.” Pet. Mot. 4. The Court did not overlook Petitioner’s arguments
or the cases he cited, but rather declined to engage in a detailed analysis of this particular
claim, While Ruan impacted how mens rea is applied in certain Controlled Substances Act
prosecutions, its holding does not extend to § 802(25).

Petitioner has also failed to cite controlling case law or present relevant evidence
that his former counsel was ineffective for allegedly neglecting to raise the scienter
argument or any other theory. Under Strickland v. Washington, 466 U.S. 668 (1984), a
petitioner must demonstrate counsel’s performance was constitutionally deficient—that the
alleged errors committed were so egregious that the attorney failed to perform as “counsel”
guaranteed by the Sixth Amendment, /d. at 687; see also United States v. Shedrick, 493
F.3d 292, 299 (3d Cir. 2007), Additionally, a petitioner must show that this deficient

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performance prejudiced the defense, depriving him of a fair trial. Petitioner failed to meet
either prong of Siickland and, in the instant motion, has not identified new or overlooked
evidence to demonstrate ineffectiveness, The Court recognizes that pro se habeas petitions
must be interpreted liberally and with some leniency. See Si. Fleur v, Ricci, No. 10-0864,
2012 WL 194345, at *5 (D.N.J. Jan. 17, 2012) (citations omitted), However, a motion for
reconsideration does not “provide parties with an opportunity for a second bite at the
apple,” and mere disagreement with the Court “will not suffice to show that the Court
overlooked relevant facts or controlling law.” Souels v. United States, No. 15-07563, 2018
WL 3496641, at *3 (D.NJ. July 19, 2018) (citations omitted), Reconsideration is thus
unwarranted here, and Petitioner’s motion is denied.

I. CONCLUSION AND ORDER

For these reasons,

IT IS on this Keay of May 2025,

ORDERED that Petitioner’s motion for reconsideration (ECF No. 24) is DENIED.

LY ARTINI, U.S.D.J.

DATE: aeons

